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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

Lordstown Motors Corp., et al., 1                                Case No. 23-10831 (MFW)

                                                                 (Jointly Administered)
                                        Debtors.
                                                                 Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)

                                                                Hearing Date: March 14, 2024 at 3:00 p.m. (ET)



            SUMMARY SHEET TO SECOND INTERIM FEE APPLICATION OF
           KURTZMAN CARSON CONSULTANTS LLC, AS ADMINISTRATIVE
               ADVISOR TO THE DEBTORS, FOR THE PERIOD FROM
           OCTOBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

    General Information
    Name of Applicant:                                     Kurtzman Carson Consultants LLC
    Authorized to Provide Services to:                     The above-captioned debtors
    Petition Date:                                         June 27, 2023
    Date of Retention Order:                               July 25, 2023, effective as of June 27, 2023
    Type of Application:                                   Interim
    Summary of Fees and Expenses Sought in the Fee Application
    Period for Which Compensation and
    Reimbursement is Sought in the Fee
    Application:                               October 1, 2023 through December 31, 2023
    Amount of Compensation Sought as Actual,
    Reasonable, and Necessary for the Fee
    Period:                                                $31,384.14
    Amount of Expense Reimbursement Sought
    as Actual, Reasonable, and Necessary for the
    Fee Period:                                            $0.00



1
     The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
     Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
     address is 27000 Hills Tech Dr., Farmington Hills, MI 48331.
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      Total Compensation and Expense
      Reimbursement Request for the Fee Period:                   $31,384.14

                                         AMOUNTS PREVIOUSLY REQUESTED

 Type of
                                                        Requested                     Approved by Court to Date
Application
                   Date Filed/     Period           Fees           Expenses             Fees           Expenses        Amount Paid
                   Docket No.     Covered
 Monthly           12/1/2023;    10/1/2023 –     $8,439.15            $0.00           $8,439.15          $0.00              $0.00
                      765        10/31/2023       (80% of                              (80% of
                                                $10,548.94)                          $10,548.94)
 Monthly           1/9/2024;     11/1/2023 –    $11,642.37            $0.00          $11,642.37          $0.00              $0.00
                      893        11/30/2023       (80% of                              (80% of
                                                $14,552.96)                          $14,552.96)
 Monthly           1/31/2024;    12/1/2023 –     $5,023.39            $0.00            Pending           $0.00              $0.00
                      940        12/31/2023       (80% of
                                                $6,279.24)


                                     COMPENSATION BY PROJECT CATEGORY

                                 Project Category                         Total Hours                 Total Fees

              Schedules & SOFAs                                                            1                  $76.75
              Solicitation                                                             156.6              $31,304.39
              Totals                                                                   157.6              $31,384.14

                                          COMPENSATION BY INDIVIDUAL

        Initials         Name                     Position                    Hours         Rate                 Total
         AAE         Andres Estrada        Solicitation Consultant             87.0        $ 201.75           $ 17,552.16
         ASK        Ashley Kuarasingh      Solicitation Consultant             17.2        $ 193.75           $ 3,332.57
                                           Technical Programming
                        Cooper Ide                                             1.0
           CJI                                   Consultant                                $ 76.75            $    76.75
           JCN      Jacqueline Conklin     Solicitation Consultant            1.5          $ 193.75           $ 290.63
           JEE          James Lee           Securities Consultant             10.6         $ 201.75           $ 2,138.50
                         Jennifer
                                            Solicitation Consultant           17.5
         JMG            Westwood                                                           $ 193.75           $ 3,390.62
         JNG           Jennifer Ngo         Securities Consultant             10.0         $ 201.75           $ 2,017.48
         KVR           Kevin Martin         Securities Consultant             12.8         $ 201.75           $ 2,582.43

                        TOTALS                                                157.6                           $31,384.14

                                          Total Incurred:                $31,384.14
                                          Blended Rate:                    $199.14




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                           Chapter 11

Lordstown Motors Corp., et al., 1                               Case No. 23-10831 (MFW)

                                                                (Jointly Administered)
                                       Debtors.
                                                                Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)

                                                               Hearing Date: March 14, 2024 at 3:00 p.m. (ET)



              SECOND INTERIM FEE APPLICATION OF KURTZMAN
               CARSON CONSULTANTS LLC, AS ADMINISTRATIVE
              ADVISOR TO THE DEBTORS, FOR THE PERIOD FROM
          OCTOBER 1, 2023 THROUGH AND INCLUDING DECEMBER 31, 2023

         Pursuant to Sections 330 and 331 of Title 11 of the United States Code, §§ 101-1532 (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), and the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11

Professionals and Committee Members dated July 25, 2023 [Docket No. 181] (the “Interim

Compensation Order”), Kurtzman Carson Consultants LLC (“KCC”), administrative advisor for

the above-captioned debtors (the “Debtors”), hereby submits its second interim fee application

(this “Fee Application”) for allowance of compensation and authorization of payment for

professional services provided in the amount of $31,384.14 for the period from October 1, 2023



1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Dr., Farmington Hills, MI 48331.
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through and including December 31, 2023 (the “Fee Period”). In support of this Fee Application,

KCC represents as follows:


                                         JURISDICTION

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and KCC confirms its consent pursuant to Local Rule 9013-l(f) to the entry of a final order by the

Court in connection with this Fee Application to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       2.      Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested herein are section 330 and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016, and Local Rules 2016-1 and 2016-2.

                                         BACKGROUND

       4.      On June 27, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code.

       5.      On the Petition Date, the Debtors filed an application to employ KCC as its claims

and noticing agent (in such capacity, the “Claims and Noticing Agent”) pursuant to 28 U.S.C. §

156(c) and Local Rule 2002-1(f) [Docket No. 4] (the “Section 156(c) Application”), which was

approved by the Court on June 28, 2023 [Docket No. 54] (the “Section 156(c) Order”).

       6.      Given that the administration of these chapter 11 cases would require KCC to

perform duties outside the scope of 28 U.S.C. § 156(c), the Debtors supplemented the Section




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156(c) Application with an application to retain KCC to perform certain services as the Debtors’

administrative advisor in these chapter 11 cases (in such capacity, the “Administrative Advisor”).

Accordingly, on July 6, 2023 the Debtors filed the Debtors’ Application for Entry of an Order

Authorizing the Employment and Retention of Kurtzman Carson Consultants LLC as

Administrative Advisor Effective as of the Petition Date [Docket No. 91]. On July 25, 2023, the

Court entered the Order Authorizing the Retention and Employment of Kurtzman Carson

Consultants LLC as Administrative Advisor, Effective as of the Petition Date [Docket No. 174]

(the “Retention Order”). The Retention Order authorized the Debtors to compensate KCC in

accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any orders

entered in these cases governing professional compensation and reimbursement for services

rendered and charges and disbursements incurred.

       7.      The Retention Order authorizes KCC to provide the following services:

               (a)    assist with the preparation of the Debtors’ schedules of assets and liabilities,
                      and statements of financial affairs and gather data in conjunction therewith;

               (b)    assist with, among other things, solicitation, balloting and tabulation of
                      votes, and preparation of any related reports, as required in support of
                      confirmation of any chapter 11 plan, and in connection with such services,
                      process requests for documents from parties in interest, including, if
                      applicable, brokerage firms, bank back-offices and institutional holders;

               (c)    prepare an official ballot certification and, if necessary, testify in support of
                      the ballot tabulation results for any chapter 11 plan;

               (d)    provide a confidential data room, if requested;

               (e)    manage and coordinate any distributions pursuant to any chapter 11 plan;
                      and

               (f)    provide such other processing, solicitation, balloting, and other
                      administrative services described in the Services Agreement, but not
                      included in the Section 156(c) Application, as may be requested from time
                      to time by the Debtors, the Court or the Office of the Clerk of the
                      Bankruptcy Court (the “Clerk”).




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       8.      The amounts sought in this Application do not include any fees that may be payable

by the Debtors for services provided by KCC under the Section 156(c) Order. Procedures for the

payment of such fees and disbursements are separately addressed in the Section 156(c) Order.

Additionally, no fees and disbursements for services provided to the Debtors under the Retention

Order are or will be sought to be paid under the Section 156(c) Order.

       9.      All services for which compensation is requested by KCC were performed on

behalf of the Debtors.

                         SUMMARY AND VALUATION OF SERVICES

       10.     The amount of time spent by each employee providing services to the Debtors for

the Fee Period is detailed in line item listings of time entries and descriptive detail set forth herein

and in the invoices attached hereto as Exhibit A. These are KCC’s normal hourly rates of

compensation for work of this character. The reasonable value of the services rendered by KCC

for the Fee Period as Administrative Advisor to the Debtors in these chapter 11 cases is $31,384.14.

KCC is not seeking reimbursement for any expenses in this Application.

       11.     During the Fee Period, KCC’s professionals spent one hour assisting the Debtors

and their professionals finalizing the preparation of the amended Schedules of Assets and

Liabilities and Statements of Financial Affairs (the “Schedules and Statements”).

       12.     Additionally, KCC professionals spent 156.6 hours assisting the Debtors with their

solicitation. This included reviewing solicitation documents and procedures, planning for the

solicitation, preparing the voting amount spreadsheet, and reviewing solicitation forms.

Additionally, KCC professionals communicated with third parties regarding the solicitation and

coordinated internally and with the Debtors’ professionals regarding the solicitation and timing.

KCC also generated ballot records, established the eballot website, updated the voting amount




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spreadsheet, prepared voting summary and tabulation reports, and responded to inquiries regarding

the solicitation.

        13.     KCC believes that the time entries included in Exhibit A are in compliance with the

requirements of Local Rule 2016-2.

        14.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

KCC submits that the amount requested is fair and reasonable given (a) the complexity of these

cases, (b) the time expended, (c) the nature and extent of services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under this title.

                                          CONCLUSION

        WHEREFORE, KCC respectfully requests that the Court enter an Order: (i) granting the

Fee Application and allowing compensation in the amount of $31,384.14; (ii) directing payment

by the Debtors of $31,384.14; and (iii) granting such other and further relief as the Court deems

just and proper.

 Dated: February 14, 2024
        El Segundo, California
                                            /s/ Sarah Harbuck
                                            KURTZMAN CARSON CONSULTANTS LLC
                                            Sarah Harbuck
                                            Drake D. Foster
                                            222 N. Pacific Coast Highway, 3rd Floor
                                            El Segundo, California 90245
                                            Tel: 310.751.1539

                                            Administrative Advisor to the Debtors




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                                       CERTIFICATION

I, Sarah Harbuck, pursuant to 28 U.S.C. § 1746, state as follows:

           a) I am the Assistant General Counsel of the applicant firm, Kurtzman Carson
              Consultants LLC.
           b) I am familiar with the work performed by Kurtzman Carson Consultants LLC on
              behalf of the Debtors.
           c) I have reviewed the foregoing Fee Application and the facts set forth therein are
              true and correct to the best of my knowledge, information and belief. Moreover, I
              have reviewed Local Rule 2016-2, and submit that the Fee Application substantially
              complies with such order.
I certify, under penalty of perjury, that the foregoing statements are true to the best of my
knowledge, information, and belief.


Dated: February 14, 2024
       El Segundo, California


                                                            /s/ Sarah Harbuck

                                                            Sarah Harbuck




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